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             Case 3:16-cr-00465-BEN                     Document 71               Filed 10/11/16                PageID.212          Page 1 of 2
     <WVO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case                                                                        rii
               Sheet 1
                                                                                                                                        nrT i i


                                               United States District Court                                                   CLERK US DISTRICT COURT
                                                                                                                           SOUTHERN'DISTRICT OF CALIFORNIA
                                                                                                                           BY     (AULnJ           DEPUTY
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                         V.                                          (For Offenses Committed On or After November 1, 1987)

                     JAIME GOMEZ-GONZALEZ (2)                                        Case Number: 16CR0465-BEN
                                                                                     EZEKIEL E. CORTEZ
                                                                                     Defendant’s Attorney
     REGISTRATION NO. 52281298


     □
     THE DEFENDANT:
     |Xl pleaded guilty to count(s) 1 OF THE INDICTMENT.
     I I was found guilty on count(s)_________________________________________________________
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                Count
     Title & Section                          Nature of Offense                                                                               Number(s)
8 USC 1324(a)( 1 )(A)(i)              BRINGING IN ALIENS                                                                                          1




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  | | The defendant has been found not guilty on count(s)
  | X| Count(s)     2-6 OF THE INDICTMENT                                             isQ       are | X| dismissed on the motion of the United States.
  0 Assessment: $100.00 WAIVED.



  [Xl Fine waived                                   | | Forfeiture pursuant to order filed                                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               SEPTEMBER/! 9,2016
                                                                              Date of Imirositi/n of Sentence
                                                                                                      %

                                                                              hokrHr            flTEZ
                                                                              united States district judge

                                                                                                                                                16CR0465-BEN
      s,
       V. Case 3:16-cr-00465-BEN                   Document 71              Filed 10/11/16      PageID.213          Page 2 of 2
AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2 — Imprisonment
                                                                                                                    2   of        2
                                                                                                  Judgment — Page
 DEFENDANT: JAIME GOMEZ-GONZALEZ (2)
 CASE NUMBER: 16CR0465-BEN
                                                             IMPRISONMENT
           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
           TWELVE (12) MONTHS AND ONE (1) DAY.



       □ Sentence imposed pursuant to Title 8 USC Section 1326(b).
       I I The court makes the following recommendations to the Bureau of Prisons:




       | | The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
             □ at                                  □a.m.      []p.m.        on .
                as notified by the United States Marshal.

       |~~1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            I I before
            |~~1 as notified by the United States Marshal.
            I I as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:

           Defendant delivered on                                                    to

 at                                                 , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL

                                                                       By
                                                                                             DEPUTY UNITED STATES MARSHAL




                                                                                                                        16CR0465-BEN
